 1                                                          Exhibit C

 2            Comparison of Budgeted to Actual Fees Sought During the Compensation Period

 3
                                              Fees and Expenses Budgeted
 4                         Period                                                  Fees and Expenses Sought
                                                  Under DIP Budget1
                    June 2019                         $10,000,000                        $6,844,883.38
 5                  July 2019                          10,000,000                         8,847,037.59
                    August 2019                        10,909,091                        10,870,183.04
 6                  September 2019                    10,909,091                         13,314,244.45
                    Travel Adjustment:2                                                   (122,214.25)
 7                  Adjusted Total:                    $41,818,182                       $39,754,134.21

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24         The “high-case” budget between Debtors and Cravath, Swaine & Moore LLP, as amended August 22, 2019, which
     included an estimate of pass-through expenses for retained experts.
25         2
             Consistent with the Fee Procedures Order entered on November 15, 2019, Cravath has capped Non-Working Travel
     Time (airplane travel) at two hours for billing purposes resulting in a discount of $842,409.50 for the Compensation Period.
26   Prior to the entry of the Fee Procedures Order, Cravath had discounted Non-Working Travel Time by 50% as reflected in
     the Fifth, Sixth, Seventh and Eighth Monthly Fee Statements for a discount of $720,195.25 for the Compensation Period.
27   The Travel Adjustment of $122,214.25 is the difference between those discount amounts (i.e., the additional discount
     applied to give effect to the Fee Procedures Order).
28

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